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   Rev: 




                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA
                  vs.                                     Criminal No.              21-105       (JMC)


   HENRY PHILLIP MUNTZER
                                                       Category       B




                          Defendant(s)



                                      REASSIGNMENT OF CRIMINAL CASE


   The above-entitled case was reassigned on           6/16/2022      from Judge Amit P. Mehta

to Judge Jia M. Cobb                             by direction of the Calendar Committee.



                                      (Case Transferred by Consent)


                                                              JUDGE 58'2/3+&2175(5$6
                                                              Chair, Calendar and Case
                                                              Management Committee




   cc:            Judge Amit P. Mehta                         & Courtroom Deputy
                  Judge Jia M. Cobb                            & Courtroom Deputy

                  U.S. Attorney’s Office – Judiciary Square Building, Room 5133
                  Statistical Clerk
